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                                        UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

                    V.                                           CRIMINAL CASE NO.                  1:24-cr-10364-IT

    TANIA FERNANDES ANDERSON

                                         ORDER OF EXCLUDABLE DELAY

           In accordance with the Speedy Trial Act of 1974, as amended, this Court hereby orders excludable delay
for the time periods and for the reasons checked below.


January 22, 2025                                                                      /s/ Donald L. Cabell
           Date                                                                      U.S. Magistrate Judge

REFER TO DOCUMENT(S) #


[ ]       XA                        Proceedings including examinations to determine                18 U.S.C.§3161(h)(1)(A)
                                    mental competency or physical capacity
[    ]    XC                        Trial on other charges against defendant                       18 U.S.C.§3161(h)(1)(B)
[    ]    XD                        Interlocutory Appeal                                           18 U.S.C.§3161(h)(1)(C)
[    ]    XE                        Pretrial motions from filing date to hearing or disposition    18 U.S.C.§3161(h)(1)(D)
[    ]    XF                        Transfer (Rule 20) or Removal (Rule 5) proceedings             18 U.S.C.§3161(h)(1)(E)
[    ]    XG                        Proceedings under advisement                                   18 U.S.C.§3161(h)(1)(H)
[    ]    XH                        Miscellaneous proceedings concerning defendant                 18 U.S.C.§3161(h)(1)
[    ]    XI                        Prosecution deferred                                           18 U.S.C.§3161(h)(2)
[    ]    XJ                        Transportation from other district                             18 U.S.C.§3161(h)(1)(F)
[    ]    XK                        Consideration of proposed plea agreement                       18 U.S.C.§3161(h)(1)(G)
[    ]    XM                        Absence or unavailability of defendant or essential            18 U.S.C.§3161(h)(3)
                                    government witness
[ ]       XN                        Period of mental or physical incompetency or physical          18 U.S.C.§3161(h)(4)
                                    inability to stand trial
[ ]       XP                        Superseding indictment and/or new charges                      18 U.S.C.§3161(h)(5)
[ ]       XR                        Defendant joined with co-defendant for whom time has not run   18 U.S.C.§3161(h)(6)
[ ]       XU                        Time from first arraignment to withdrawal of guilty plea       18 U.S.C.§3161(i)
[ ]       XW                        Grand Jury indictment time extended                            18 U.S.C.§3161(b)
[ X]      XT 1/29/25-3/5/25         Continuance granted in the interest of justice**               18 U.S.C.§3161(h)(7)(A)



    **The Court finds that the interests of justice in this case, i.e., to provide the parties additional time to produce
    discovery under the automatic discovery process, to evaluate the discovery and to seek additional discovery,
    and for the defendant to consider the need for pre-trial motions, outweigh the best interests of the public and
    defendant for a trial within seventy days of the filing date (and making public) of the indictment. I further find
    that not granting this continuance would deny counsel for both the government and the defendant a reasonable
    time necessary for effective preparation, taking into account the exercise of due diligence. See 18 U.S.C. §
    3161(h)(7)(B)(iv).
